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                               UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF VIRGINIA


SONY MUSIC
ENTERTAINMENT, et al.
                                         Plaintiff(s),
                    v.
                                                                      JURY TRIAL
COX COMMUNICATIONS, INC,                                            Case No. 1:18CV950
et al.
                                         Defendant(s)
                                         .


HONORABLE LIAM O’GRADY presiding                                      Court Reporter:   N. Linnell/ A.
                                                                                        Thomson
Deputy Clerk: Amanda                                                     Court Time:    9:03 – 10:57
Proceeding Held: December 9, 2019                                                       11:16 – 12:59
                                                                                        2:05 – 3:45
                                                                                        4:09 – 5:46

                                                                  Total Time in Court   6 hr. 54 min.
Appearances:

    Plaintiff(s):        Scott Zebrak, Matthew Oppenheim, Jeffrey Gould, Lucy Noyola, Jia Rye, Andrew
                         Guerra, Michael Druckman

    Defendant(s): Thomas Buchanan, Michael Elkin, Jennifer Golinveaux, Thomas Lane, Sean
                  Anderson, Cesie Alvarez, Thomas Kearney, Michael Brody, Diana Leiden


Day 6
9:03 a.m. – Court resumes.
9:03 a.m. – Counsel present arguments re: witness.
9:16 a.m. – Witness can be called on Wednesday evening after the jury is excused for telephonic
deposition.
9:17 a.m. – Jury returns to the courtroom.
9:19 a.m. – Mr. Buchanan begins direct-exam (dual witness) of witness Roger Vredenburg. Witness
previously sworn.
9:45 a.m. – Mr. Buchanan concludes.
9:46 a.m. – Mr. Gould begins re-direct exam.
10:03 a.m. – Mr. Gould concludes.
10:04 a.m. – Mr. Buchanan begins cross-exam.
10:06 a.m. – Mr. Buchanan concludes. Witness excused.
10:08 a.m. – Ms. Noyola calls witness Matthew (Matt) Flott. Witness sworn. Begin direct-exam.
10:31 a.m. – Ms. Noyola concludes.
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10:32 a.m. – Mr. Buchanan begins cross-exam.
10:57 a.m. – Jury excused.
10:57 a.m. – Court recesses.
11:16 a.m. – Court resumes. Counsel present arguments.
11:21 a.m. – Jury returns to the courtroom.
11:22 a.m. – Mr. Buchanan continues with cross-exam of witness.
11:30 a.m. – Mr. Buchanan concludes.
11:30 a.m. – Ms. Noyola begins re-direct exam.
11:36 a.m. – Ms. Noyola concludes. Witness excused.
11:38 a.m. – Plaintiff’s call Jason Zebak through video deposition (shared witness). Mr. Oppenheim
begins direct-exam (on video).
12:59 p.m. – Jury excused.
12:59 p.m. – Court recesses.
2:05 p.m. – Court resumes.
2:07 p.m. – Video deposition continues.
3:27 p.m. – Mr. Elkin begins cross of witness (on video deposition).
3:44 p.m. – Jury excused.
3:45 p.m. – Court recesses.
4:09 p.m. – Court resumes.
4:10 p.m. – Jury returns to the courtroom.
4:11 p.m. – Mr. Elkin’s cross-exam of video deposition continues.
4:44 p.m. – Mr. Oppenheim begins re-direct exam.
4:49 p.m. – Video deposition concludes.
4:51 p.m. – Mr. Gould calls witness Brent Beck. Witness sworn. Begin direct-exam.
5:44 p.m. – Jury excused.
5:46 p.m. – Court recesses.
